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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                    8:16CR248

       vs.
                                                      DETENTION ORDER PENDING TRIAL
SINDY RENTERIA-HUESO,

                      Defendant.

A.   Order For Detention
      After conducting a detention hearing pursuant to 18 U.S.C. § 3142(f) of the Bail Reform
      Act, the Court orders the above-named defendant detained pursuant to 18 U.S.C. §
      3142(e) and (I).


B.   Statement Of Reasons For The Detention
     The Court orders the defendant’s detention because it finds:
       X      By a preponderance of the evidence that no condition or combination of
              conditions will reasonably assure the appearance of the defendant as required.
       X      By clear and convincing evidence that no condition or combination of conditions
              will reasonably assure the safety of any other person or the community.

C. Finding Of Fact
   The Court’s findings are based on the evidence which was presented in court and that
   which was contained in the Pretrial Services Report, and includes the following:
    X     (1)     Nature and circumstances of the offense charged:
           X       (a) The crime: (Count XI) Money Laundering Conspiracy and (Count XII)
                         Laundering of Monetary Instruments are serious crimes and carry a
                         maximum penalty of 20 years imprisonment per count.
                   (b) The offense is a crime of violence.
                   (c) The offense involves a narcotic drug.
                   (d) The offense involves a large amount of controlled substances, to wit:


             (2)   The weight of the evidence against the defendant is high.
      X      (3)   The history and characteristics of the defendant including:
                    (a) General Factors:
                                  The defendant appears to have a mental condition which may
                                  affect whether the defendant will appear.
                                  The defendant has no family ties in the area.
                                  The defendant has no steady employment.
                                  The defendant has no substantial financial resources.
                                  The defendant is not a long time resident of the community.
                                  The defendant does not have any significant community ties.
                                  Past conduct of the defendant:
                           X      The defendant has a history relating to drug abuse.
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                                 The defendant has a history relating to alcohol abuse.
                                 The defendant has a significant prior criminal record.
                                 The defendant has a prior record of failure to appear at court
                                 proceedings.
                    (b) At the time of the current arrest, the defendant was on:
                                 Probation
                                 Parole
                                 Supervised Release
                                 Release pending trial, sentence, appeal or completion of
                                 sentence.
                    (c) Other Factors:
                                 The defendant is an illegal alien and is subject to deportation.
                                 The defendant is a legal alien and will be subject to
                                 deportation if convicted.
                                 The Bureau of Immigration and Customs Enforcement (BICE)
                                 has placed a detainer with the U.S. Marshal.
                                 Other:
           (4)     The nature and seriousness of the danger posed by the defendant’s release
           are as follows:



D. Additional Directives
   Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:
          1. The defendant be committed to the custody of the Attorney General for
               confinement in a corrections facility separate, to the extent practicable from
               persons awaiting or serving sentences or being held in custody pending
               appeal; and
          2. The defendant be afforded reasonable opportunity for private consultation with
               counsel; and
          3. That, on order of a court of the United States, or on request of an attorney for
               the government, the person in charge of the corrections facility in which the
               defendant is confined deliver the defendant to a United States Marshal for the
               purpose of an appearance in connection with a court proceeding.


DATED this 23rd day of November, 2016.

                                            BY THE COURT:

                                            s/ F.A. Gossett, III
                                            United States Magistrate Judge
